                                 Case 24-10663-LSS                  Doc 1       Filed 04/01/24           Page 1 of 23


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Never Slip Holdings, Inc.

2.   All other names debtor
     used in the last 8 years     Also known as: Shoes for Crews; SureGrip; Mozo; Keuka;
     Include any assumed          Crew Guard; Mighty Mat
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  5000 T-Rex Avenue
                                  Suite 100
                                  Boca Raton, FL 33431
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Palm Beach                                                     Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.shoesforcrews.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Never Slip Holdings, Inc.                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                               4243

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
     business debtor” must check           Chapter 11. Check all that apply:
     the first sub-box. A debtor as
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who
                                                                 noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under
                                                                 $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11
                                                                 operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a
                                                                 exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must
     check the second sub-box.                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




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Debtor    Never Slip Holdings, Inc.                                                                      Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                         Debtor      SEE ATTACHED RIDER                                            Relationship

                                                    District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                               Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                               preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                               A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                No
    have possession of any
    real property or personal             Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                           Why does the property need immediate attention? (Check all that apply.)
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                      It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                      Other
                                                   Where is the property?
                                                                                    Number, Street, City, State & ZIP Code
                                                   Is the property insured?
                                                      No
                                                      Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of                      Check one:
    available funds
                                                   Funds will be available for distribution to unsecured creditors.
                                                   After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                   1-49                                              1,000-5,000                                25,001-50,000
    creditors *                           50-99                                             5001-10,000                                50,001-100,000
                                          100-199                                           10,001-25,000                              More than100,000
                                          200-999

15. Estimated Assets *                    $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                          $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                          $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                          $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities *               $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                          $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                          $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                          $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion


* The Debtors' estimated number of creditors, assets, and liabilities noted here are provided on a consolidated basis.




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DocuSign Envelope ID: 05180DC9-78D9-4DE8-B344-57976A1937DD
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  Debtor    Never Slip Holdings, Inc.                                                                Case number (if known)
            Name



            Request for Relief, Declaration, and Signatures

  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
             imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

  17. Declaration and signature
      of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
      representative of debtor
                                   I have been authorized to file this petition on behalf of the debtor.

                                   I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                   I declare under penalty of perjury that the foregoing is true and correct.

                                   Executed on      04/01/2024
                                                    MM / DD / YYYY


                               X                                                                            Christopher Sim
                                   Signature of authorized representative of debtor                         Printed name

                                   Title   Chief Financial Officer




  18. Signature of attorney    X /s/ Mark L. Desgrosseilliers                                                Date   04/01/2024
                                   Signature of attorney for debtor                                                 MM / DD / YYYY

                                   Mark L. Desgrosseilliers
                                   Printed name

                                   CHIPMAN BROWN CICERO & COLE, LLP
                                   Firm name

                                   Hercules Plaza
                                   1313 N. Market Street, Suite 5400
                                   Wilmington, DE 19801
                                   Number, Street, City, State & ZIP Code


                                   Contact phone     (302) 295-0192                Email address      desgross@chipmanbrown.com

                                   4083 DE
                                   Bar number and State




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                                             RIDER 1

           Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

         On the date hereof, each of the entities below (collectively, the “Debtors”) filed a Petition
in the United States Bankruptcy Court for the District of Delaware for relief under chapter 11 of
title 11 of the United States Code. The Debtors have moved for joint administration of these cases
under the case number assigned to the chapter 11 case of Never Slip Holdings, Inc.

            Never Slip Holdings, Inc.
            Never Slip TopCo, Inc.
            SHO Holding I Corporation
            SHO Holding II Corporation
            Shoes For Crews, Inc.
            SFC Holdings, Inc.
            SFC Holdings, LLC
            Shoes for Crews, LLC
            SRS/MKS, L.L.C.
            Shoes for Crews Canada, Ltd.
            SFC Canada, Inc.
            Sunrise Enterprises, LLC
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


 In re:
                                                      Chapter 11
          Never Slip Holdings, Inc.,
                                                      Case No. 24-[_______] ([___])
                                       Debtor.


                        CORPORATE OWNERSHIP STATEMENT

       Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interest:

                   Shareholder                    Approximate Percentage of Shares Held
 Never Slip TopCo, Inc.                                              100%
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


 In re:
                                                          Chapter 11
          Never Slip Holdings, Inc.,
                                                          Case No. 24-[_______] ([___])
                                        Debtor.


                                 LIST OF EQUITY HOLDERS

         The following is a list of debtor Never Slip Holdings, Inc.’s significant equity holders. This
list has been prepared in accordance with Federal Rule of Bankruptcy Procedure 1007(a)(3) for
filing in this chapter 11 case.

                                                                                  Percentage of
               Equity Holder                    Address of Equity Holder
                                                                                  Equity Held
                                              5000 T-Rex Avenue
   Never Slip TopCo, Inc.                     Suite 100                                100%
                                              Boca Raton, FL 33431
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Fill in this information to identify the case:
Debtor name Never Slip Holdings, Inc.
United States Bankruptcy Court for the: DISTRICT OF DELAWARE                                                                                          Check if this is an
Case number (if known):                                                                                                                               amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 50 largest unsecured claims.

                                                                           Nature of claim                          Amount of claim
                                                                         (for example, trade                        If the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                Indicate if claim
     Name of creditor and complete         Name, telephone number         debts, bank loans,                        If claim is partially secured, fill in total claim amount and deduction
                                                                                                 is contingent,
     mailing address, including zip         and email address of             professional                           for value of collateral or setoff to calculate unsecured claim.
                                                                                                unliquidated, or
                 code                         creditor contact              services, and                                                      Deduction for
                                                                                                    disputed            Total claim, if
                                                                             government                                                      value of collateral         Unsecured claim
                                                                                                                      partially secured
                                                                              contracts)                                                          or setoff
 1      CEVA Logistics US Inc            CEVA Logistics US Inc           Freight & Logistics    Contingent                                                                    $8,200,000.00
        15350 Vickery Dr
        Houston, TX 77032-2530
 2      Hyper Shine Group Shoes Co,      Hyper Shine Group Shoes Co, Manufacturer               Contingent                                                                 $2,247,114.96
        Ltd Rm B3, 19/F Tung Lee         Ltd Tel: 392-538-0154
        Commercial Bldg                  Email: ken_lee@hypershine.cn
        91-97 Jervois St
        Sheung Wan, Hong Kong
        Hong Kong
 3      Wjiang Jinjiang Xiong Yi Shoes   Wjiang Jinjiang Xiong Yi Shoes Manufacturer            Contingent                                                                 $2,083,635.40
        c/o Mega Perfect Development
        Ltd
        L24043 Rm 1303, 13/F, Sino
        Favour Ctr
        1 On Yip St Chaiwan Hong
        Kong
 4      Vandegrift                       Vandegrift                      Freight & Logistics    Contingent                                                                 $1,496,569.73
        100 Walnut Ave, Ste 600          Tel: 201-915-9500
        Clark, NJ 07066                  Email:
                                         clagana@vandegrift.com
 5      New Balance Athletic Shoe Inc    New Balance Athletic Shoe Inc   Manufacturer                                                                                      $1,457,626.20
        c/o Lyons Crossing Prof          Email:
        1341 Branton Blvd, Ste 103       ar.remit@newbalance.com
        Knoxville, TN 37922-8521
 6      Avendra LLC                      Avendra LLC                     Customer               Contingent                                                                 $1,340,089.75
        c/o Wells Fargo Bank
        7175 Columbia Gateway Dr
        Columbia, MD 21046
 7      Unisen Industrial Development    Unisen Industrial Development   Manufacturer           Contingent                                                                 $1,145,740.12
        Pte Ltd Rampur,Burichong         Pte Ltd Tel: 359-079-5520
        Cumilla, 3500 Bangladesh         Email:
                                         Beryl.jiao@jidafootwear.com
 8      DeWalt US                        DeWalt US                       Manufacturer                                                                                      $1,078,152.00
        701 E Joppa Rd Towson, MD
        21286
 9      WOVERSP OverSpeedy               WOVERSP OverSpeedy              Manufacturer           Contingent                                                                   $941,498.60
        c/o Verspeedy Shoes Viet Nam
        Co, Ltd The 605 Plot, The 08th
        Map, Binh Hoa 1 Quarter, Tan
        Phuoc Khanh Ward, Tan Uyen
        City Binh Duong Province
        820000 Vietnam
 10     West Chester Protective Gear     West Chester Protective Gear    Manufacturer           Contingent                                                                   $564,160.00
        11500 Canal Rd
        Cincinnati, OH 45241
 11     Google Inc                       Google Inc                      Advertising/           Contingent                                                                   $392,315.00
        Dept 33654                       Email:                          Marketing
        P.O. Box 39000                   collections-us@google.com
        San Francisco, CA 94139


Official form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured claims                                   page 1
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Debtor     Never Slip Holdings, Inc.                                                                      Case number (if known)
           Name

                                                                        Nature of claim                          Amount of claim
                                                                      (for example, trade                        If the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                             Indicate if claim
   Name of creditor and complete         Name, telephone number       debts, bank loans,                         If claim is partially secured, fill in total claim amount and deduction
                                                                                              is contingent,
   mailing address, including zip         and email address of            professional                           for value of collateral or setoff to calculate unsecured claim.
                                                                                             unliquidated, or
               code                         creditor contact             services, and                                                      Deduction for
                                                                                                 disputed            Total claim, if
                                                                          government                                                      value of collateral         Unsecured claim
                                                                                                                   partially secured
                                                                           contracts)                                                          or setoff
 12   Deloitte & Touche LLP            Deloitte & Touche LLP          Professional                                                                                           $365,057.00
      1800 N Military Trl, Ste 200                                    Services
      Boca Raton, FL 33431
 13   Wnice Goodway Intl Holdings      Wnice Goodway Intl Holdings    Manufacturer           Contingent                                                                   $318,710.60
      Ltd c/o Goodway Int'l Holdings   Ltd
      Ltd Rm 16/F, Railway Plz
      Nos 39 Chatham Rd S Tsim
      Sha Tsui, Kln Hong Kong
 14   Wputian Putian Xiecheng          Wputian Putian Xiecheng        Manufacturer           Contingent                                                                   $239,524.00
      Footwear Co, Ltd                 Footwear Co, Ltd
      c/o Putian Xiecheng Footwear
      Co, Ltd Fengting Industry Area
      Xianyou County, Putian City
      Fujian Province
      China
 15   Netsuite Oracle Banc of          Netsuite Oracle Banc of        Software &                                                                                          $188,776.75
      America Leasing                  America Leasing Tel:           Services
      c/o Lease Administration         800-959-5936
      Center 2600 W Big Beaver Rd      Email:
      Troy, MI 48084                   customersvc@leaseadmincent
                                       er.com
 16   R2 Unified Technologies, LLC     R2 Unified Technologies, LLC   Software &             Contingent                                                                   $153,040.52
      980 N Federal Hwy, Ste 410                                      Services
      Boca Raton, FL 33432
 17   Wfengze Fengze                   Wfengze Fengze                 Manufacturer                                                                                        $136,160.00
      c/o Hongkong Cheng Kwok &
      Xin Moulding
      Rm 18 27/F Ho King Comm Ctr
      2-16 Fa Yuen St Mongkok Kl
      Hong Kong
 18   Oracle America, Inc              Oracle America, Inc Tel:       Software &                                                                                          $133,024.98
      2300 Oracle Way                  877-638-7848                   Services
      Austin, TX 78741                 Email:
                                       CollectionsTeam_US@Oracle.
                                       com
 19   Auxis LLC                        Auxis LLC                      Professional                                                                                        $123,234.96
      8151 Peters Rd, Ste 3500 Ft      Tel: 954-236-4000              Services
      Lauderdale, FL 33324             Email:
                                       AR.collections@auxis.com
 20   DeWalt Canada                    DeWalt Canada                  Manufacturer                                                                                        $111,710.24
      6275 Millcreek Dr Mississauga,
      ON L5N 7K6 Canada
 21   Logic Broker Inc               Logic Broker Inc Tel:            Professional           Contingent                                                                   $107,103.95
      1 Enterprise Dr, Ste 425       203-929-7633                     Services
      Shelton, CT 06484              Email:
                                     accounting@logicbroker.com
 22   Project44, LLC                 Project44, LLC                   Software &                                                                                          $102,800.00
      222 Merchandise Mart Plz, Ste Email:                            Services
      1744                           collections@project44.com
      Chicago, IL 60654
 23   Myers-Holum, Inc               Myers-Holum, Inc                 Software &                                                                                           $95,574.00
      244 Madison Ave, Ste 217       Email:                           Services
      New York, NY 10016             payments@myersholum.com
 24   Whole Foods Planet             Whole Foods Planet               Customer                                                                                             $93,121.20
      Foundation c/o Jessica         Foundation
      Villanueva
      550 Bowie St
      Austin, TX 78703
 25   UCW Logistics, LLC             UCW Logistics, LLC               Freight & Logistics                                                                                  $91,255.00
      325 W Mcbee Ave, Ste 200       Email: ar@ucwlogistics.com
      Greenville, SC 29601
 26   Commerce Canal Corp            Commerce Canal Corp              Software &             Contingent                                                                    $78,086.77
      98 Front St, Apt 5B Brooklyn,  Email:                           Services
      NY 11201                       maria@commercecanal.com




Official form 204                           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured claims                                  page 2
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Debtor     Never Slip Holdings, Inc.                                                                          Case number (if known)
           Name

                                                                           Nature of claim                           Amount of claim
                                                                         (for example, trade                         If the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                                 Indicate if claim
   Name of creditor and complete         Name, telephone number          debts, bank loans,                          If claim is partially secured, fill in total claim amount and deduction
                                                                                                  is contingent,
   mailing address, including zip         and email address of               professional                            for value of collateral or setoff to calculate unsecured claim.
                                                                                                 unliquidated, or
               code                         creditor contact                services, and                                                       Deduction for
                                                                                                     disputed            Total claim, if
                                                                             government                                                       value of collateral         Unsecured claim
                                                                                                                       partially secured
                                                                              contracts)                                                           or setoff
 27   Publicis Epsilon Collection      Publicis Epsilon Collection       Dues &                  Contingent                                                                       $76,133.00
      Account Fbo Epsilon Data         Account Email:                    Subscription
      Management LLC 601               Nicole.Eaton@epsilon.com
      Edgewater Dr
      Wakefield, MA 01880
 28   TRO LLC                          TRO LLC                           Software &              Contingent                                                                    $74,065.89
      600 Phipps Blvd, Ste 2301        Email: m@troconsulting.com        Services
      Atlanta, GA 30326
 29   Concept 360 Exhibits             Concept 360 Exhibits         Professional                 Contingent                                                                    $64,931.98
      4030-A Skyron Dr Doylestown,     Email: bhall@concept-360.com Services
      PA 18902
 30   Purolator Inc                    Purolator Inc                Freight & Logistics                                                                                        $63,560.17
      P.O. Box 4918                    Email:
      Station A                        Kathleen.Seaton@Purolator.co
      Toronto, ON M5W 0C9              m;
      Canada                           PiRemittance@Purolator.com
 31   Peak Activity LLC                Peak Activity LLC            Professional                 Contingent                                                                    $50,000.00
      1200 N Federal Hwy, Ste 200      Email: jamy@peakactivity.com Services
      Boca Raton, FL 33432
 32   The Siegfried Group, LLP         The Siegfried Group, LLP          Professional            Contingent                                                                    $50,000.00
      1201 N Market St, Ste 700        Email:                            Services
      Wilmington, DE 19801             areceivable@siegfriedgroup.co
                                       m
 33   Promethean Analytics Inc         Promethean Analytics Inc          Software &                                                                                            $47,250.00
      2351 Sunset Blvd, Ste 170-818                                      Services
      Rocklin, CA 95765-4306
 34   AON Risk Services, Inc of FL     AON Risk Services, Inc of FL      Insurance               Contingent                                                                    $43,937.20
      c/o Aon Risk Svcs Companies, Tel: 305-372-9950
      Inc 75 Remittance Dr
      Chicago, IL 60675-1943
 35   Wfitro Fitron Ltd Industries c/o Wfitro Fitron Ltd Industries Tel: Manufacturer                                                                                          $36,865.00
      Fitron Industries Ltd 20/F,      85 229 095 676
      Winbase Ctr                      Email:
      208 Queen's Rd Cenral            Sales@Cortinachina.com
      Sheung Wan Hong Kong
 36   Randstad                         Randstad                          Professional                                                                                          $35,738.42
      P.O. Box 742689                  Email:                            Services
      Atlanta, GA 30374-2689           ar.support@randstadusa.com
 37   Gravity Global                   Gravity Global Email:             Advertising/            Contingent                                                                    $31,000.00
      Attn: Gretchen Freemyer          Gretchen.Freemyer@Mojomed Marketing
      400 E Las Colinas Blvd, Ste      ialabs.com
      1050 Irving, TX 75039
 38   Wunderkind dba Bounce            Wunderkind                        Professional                                                                                          $29,363.69
      1 World Trade Ctr, 74th Fl New Email:                              Services
      York, NY 10007                   invoices@wunderkind.co;
                                       invoices@wunderkind.com
 39   Federal Express-Small            Federal Express-Small             Freight & Logistics                                                                                   $26,865.74
      Package                          Package Tel: 855-552-5393
      P.O. Box 7221                    Email: useft@fedex.com
      Pasadena, CA 91109
 40   Wfuxia Fuxiang Shoe Material Wfuxia Fuxiang Shoe Material Manufacturer                     Contingent                                                                    $26,509.92
      Co, Ltd c/o Fuxiang Shoe         Co, Ltd
      Material Co,Ltd Dafeng Indust
      Area, Wenchang West Rd
      Sanxiang Town
      Zhongshan City, Guangdon,
      China
 41   Wjmave Jm-Avenir HK Ltd c/o Wjmave Jm-Avenir HK Ltd                Manufacturer                                                                                          $23,794.56
      Jm Avenir Int'l (HK) Ltd
      Flat/Rm 2107 21/F Cc Wu Bldg
      302- 308
      Hennessy Rd, Wancha Hong
      Kong




Official form 204                            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured claims                                     page 3
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Debtor     Never Slip Holdings, Inc.                                                                     Case number (if known)
           Name

                                                                        Nature of claim                         Amount of claim
                                                                      (for example, trade                       If the claim is fully unsecured, fill in only unsecured claim amount.
                                                                                            Indicate if claim
   Name of creditor and complete         Name, telephone number       debts, bank loans,                        If claim is partially secured, fill in total claim amount and deduction
                                                                                             is contingent,
   mailing address, including zip         and email address of            professional                          for value of collateral or setoff to calculate unsecured claim.
                                                                                            unliquidated, or
               code                         creditor contact             services, and                                                     Deduction for
                                                                                                disputed            Total claim, if
                                                                          government                                                     value of collateral         Unsecured claim
                                                                                                                  partially secured
                                                                           contracts)                                                         or setoff
 42   PCI                              PCI                            Professional                                                                                           $21,849.68
      Aka Postal Center Intl Inc       Email: ar@surfpci.com          Services
      3406 SW 26 Ter
      Ft Lauderdale, FL 33312
 43   Ignite Visibility LLC            Ignite Visibility LLC          Software &            Contingent                                                                    $18,617.00
      4250 Executive Sq, Ste 100 La    Email:                         Services
      Jolla, CA 92037                  billing@ignitevisibility.com
 44   Sodexo Operations LLC            Sodexo Operations LLC          Customer                                                                                            $18,262.46
      Attn: Amare Hailom
      9801 Washingtonian Blvd
      Gaithersburg, MD 20878
 45   CDW Direct Corp                  CDW Direct Corp                Equipment                                                                                           $17,995.37
      Attn: Cash Posting 200 N         Email:
      Milwaukee Ave Vernon Hills, IL   achremittance@cdw.com
      60061
 46   Wingify Software Private Ltd     Wingify Software Private Ltd Software &                                                                                            $17,341.00
      1104 Klj Tower N B-5, 11th Fl    Email:                       Services
      Netaji Subhash Place,            account.receivagles@vwo.com
      Pitampura New Delhi, India
      110034
      India
 47   Chinook Asia, LLC                Chinook Asia, LLC              Manufacturer                                                                                        $16,872.90
      7690 SW Mohawk St
      Tualatin, OR 97062-8119
 48   Unbxd, Inc                       Unbxd, Inc                     Software &                                                                                          $16,497.00
      1710 S Amphlett Blvd, Ste 124    Email:                         Services
      San Mateo, CA 94402              receivables@unbxd.com
 49   Ashok Aluri                      Ashok Aluri                    Professional          Contingent                                                                    $16,000.00
      Dba Square Solutions LLC                                        Services
      3475 Mason View Dr NE
      Grand Rapids, MI 49525
 50   Anderson Merchandisers, LLC      Anderson Merchandisers, LLC    Advertising           Contingent                                                                    $15,312.96
      5601 Granite Pkwy, Ste 1400      Tel: 972-987-5516              Marketing
      Plano, TX 75024                  Email: ar@amerch.com




Official form 204                            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest Unsecured claims                                page 4
DocuSign Envelope ID: 05180DC9-78D9-4DE8-B344-57976A1937DD
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     Fill in this information to identify the case:

     Debtor name        Never Slip Holdings, Inc.

     United States Bankruptcy Court for the:    DISTRICT OF DELAWARE

     Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



    Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

    An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
    form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
    amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
    and the date. Bankruptcy Rules 1008 and 9011.

    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
    connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
    1519, and 3571.



                 Declaration and signature


          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
          individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                   Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                   Schedule H: Codebtors (Official Form 206H)
                   Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                   Amended Schedule
                   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 0 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                   Other document that requires a declaration     Corporate Ownership Statement; List of Equity Holders

          I declare under penalty of perjury that the foregoing is true and correct.

           Executed on       04/01/2024                      X
                                                                 Signature of individual signing on behalf of debtor

                                                                 Christopher Sim
                                                                 Printed name

                                                                 Chief Financial Officer
                                                                 Position or relationship to debtor




    Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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             NEVER SLIP TOPCO, INC., NEVER SLIP HOLDINGS, INC.,
         SHO HOLDING I CORPORATION, SHO HOLDING II CORPORATION,
        SFC HOLDINGS, INC., SFC HOLDINGS, LLC, SHOES FOR CREWS, INC.,
              SHOES FOR CREWS CANADA, LTD., SFC CANADA, INC.,
     SHOES FOR CREWS, LLC, SUNRISE ENTERPRISES, LLC, AND SRS/MKS, L.L.C.
                            OFFICER’S CERTIFICATE

                                          March 31, 2024

        The undersigned, as the Chief Financial Officer of Never Slip TopCo, Inc. and each of the
entities identified on Schedule 1 to Exhibit A (each, a “Company” and collectively,
the “Companies”) hereby certifies, solely in his capacity as an officer of each Company and not in
any individual capacity, as follows:

1.      I am the duly qualified and elected Chief Financial Officer of each Company and, as such,
        I am familiar with the facts herein certified and I am duly authorized to certify the same on
        behalf of the Companies.

2.      Attached hereto are true, complete, and correct copies of the resolutions duly adopted at a
        meeting by the boards of directors, managing members, or general partners, as applicable,
        of each of the Companies, on March 31, 2024 (the “Resolutions”).

3.      Since their adoption, the Resolutions have not been modified, rescinded, or amended and
        are in full force and effect as of the date hereof.

        IN WITNESS WHEREOF, the undersigned has executed this certificate as of the date first
written above.


                                              By:
                                              Name: Christopher Sim
                                              Title: Chief Financial Officer
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                      Exhibit A

                      Resolutions
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           OMNIBUS RESOLUTIONS OF THE BOARDS OF DIRECTORS,
       MANAGING MEMBERS, AND GENERAL PARTNERS, AS APPLICABLE,
        OF NEVER SLIP TOPCO, INC. AND CERTAIN OF ITS SUBSIDIARIES

                                         March 31, 2024

        WHEREAS, pursuant to notice duly given, a meeting (the “Meeting”) of the boards of
directors, managing members, or general partners (each, a “Governing Body” and collectively,
the “Governing Bodies”), as applicable, of Never Slip TopCo, Inc., a Delaware corporation and
each of the entities listed on Schedule 1 attached hereto (each, a “Company” and collectively,
the “Companies”), was convened on March 31, 2024;

      WHEREAS, a quorum of each Governing Body, as applicable, participated throughout the
Meeting;

        WHEREAS, the Governing Bodies have reviewed and considered presentations by the
management and the financial and legal advisors of the Companies regarding the liabilities and
liquidity situation of each Company, the strategic alternatives available to them, and the effect of
the foregoing on the Companies’ businesses;

        WHEREAS, the Governing Bodies have had the opportunity to consult with the
management and the financial and legal advisors of the Companies and fully consider each of the
strategic alternatives available to the Companies;

        WHEREAS, the Governing Bodies have determined in an exercise of their business
judgment that it is advisable and in the best interests of the Companies to undertake the
restructuring transactions set forth in that certain restructuring support agreement
(the “Restructuring Support Agreement”) by and among certain of the Companies and certain
consenting creditors and shareholders , substantially in the form that has been or will be presented
to the Governing Bodies, and to take such other actions with respect thereto;

        WHEREAS, after a marketing process and negotiations with their stakeholders, the
Companies have negotiated with the prepetition secured lenders party to (i) that certain First Lien
Credit Agreement, dated as of October 27, 2015 (as amended, restated, amended and restated,
supplemented, or otherwise modified from time to time), by and among SHO Holding I
Corporation, a Delaware corporation, as borrower (the “Borrower”), Never Slip Holdings, Inc., a
Delaware corporation (“Holdings”), the Borrower’s direct and indirect domestic subsidiaries, as
guarantors, the lenders from time to time party thereto, and Antares Capital LP (“Antares”), as
administrative and collateral agent (the “Prepetition 1L Credit Agreement”) to provide a
superpriority debtor in possession credit facility (the “DIP Credit Facility”) to the Companies to
fund the Companies’ operations in the ordinary course, fund the administration of the Chapter 11
Cases (as defined herein), and pay the claims of certain vendors, employees, and other stakeholders
in the ordinary course of business during the Chapter 11 Cases;

        WHEREAS, each Governing Body has been advised of the material terms of the DIP Credit
Facility by and among SHO Holding I Corporation, as borrower, and each of the guarantors under
the Prepetition 1L Credit Agreement, as guarantors, the lenders party thereto from time to time
(collectively, the “DIP Lenders”), and Antares, as administrative and collateral agent (in such
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capacity, the “DIP Agent”) (with such changes, additions, deletions, amendments, or other
modifications thereto as each Authorized Signatory (as defined below) may in its sole and absolute
discretion approve (together with all exhibits, schedules, and annexes thereto, the “DIP Credit
Agreement”));

      WHEREAS, each Governing Body has reviewed and considered presentations by the
management and financial and legal advisors of the Companies regarding the DIP Credit Facility
and DIP Credit Agreement;

      WHEREAS, the obligation of the DIP Lenders to make the extensions of credit to the
Companies is subject to, among other things, the Companies entering into the DIP Credit
Agreement or satisfying certain conditions in the DIP Credit Agreement, as applicable;

        WHEREAS, the Companies will obtain benefits from the DIP Credit Agreement and it is
advisable and in the best interests of the Companies to enter into the DIP Credit Agreement and
each other Loan Document (as defined in the DIP Credit Agreement) and to perform their
obligations thereunder, including granting liens, guarantees, and equity pledges;

       WHEREAS, the Buyer (as defined in that certain form of Asset and Equity Purchase
Agreement, as of today’s date (the “APA”), by and among SHO Holding I Corporation, a Delaware
corporation, Never Slip TopCo, Inc., a Delaware corporation, Never Slip Holdings, Inc., , Shoes
for Crews, Inc., SFC Holdings, Inc., Shoes for Crews Canada, Ltd., SFC Holdings, LLC, Shoes
for Crews, LLC, SFC Canada, Inc., Sunrise Enterprises, LLC, SRS/MKS, L.L.C., as sellers, and
Lender AcquisitionCo, LLC, as buyer, and Antares Capital LP, as Prepetition Agent and DIP
Agent) and the Companies have negotiated the material terms of the APA to govern the terms of
the Purchaser’s purchase of certain assets (the “Assets”) and assumption of certain liabilities of
the Companies, subject to the receipt of a higher or otherwise better offer;

        WHEREAS, each Governing Body has reviewed the material terms of the APA (together
with each of the other certificates, documents, agreements, and schedules contemplated under the
APA, the “APA Documents”), and after due consideration and deliberation, determined that each
of the transactions contemplated by the APA and the APA Documents (the “APA Transactions”)
are advisable, fair to, and in the best interests of the Companies and their creditors and stakeholders;

         WHEREAS, the consummation of the APA Transactions is subject to the Companies filing
a motion (the “Sale Motion”) with the Bankruptcy Court (as defined herein), seeking, among other
things, approval of (i) an auction process (the “Auction”) that will govern the marketing and sale
of the Assets through certain bidding procedures (the “Bidding Procedures”) to the Purchaser or
another bidder with the highest or otherwise best offer (such bidder, the “Successful Bidder”) and
(ii) the Purchaser as the stalking horse bidder and certain related bid protections;

       WHEREAS, the Governing Bodies have had an opportunity to consult with the Companies’
financial and legal advisors and review the chapter 11 preparation materials provided by the
Companies’ financial and legal advisors;

        WHEREAS, the Governing Bodies have determined that it is in the Companies’ best
interests to seek relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”); and


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       WHEREAS, the Governing Bodies hereby take the following actions and adopt the
following resolutions pursuant to the organizational documents of each of the Companies, as
applicable, and the laws of the state of Delaware or Florida, as applicable:

NOW, THEREFORE, BE IT,

Voluntary Petition for Relief Under Chapter 11 of the Bankruptcy Code

         RESOLVED, that in the judgment of the Governing Bodies, it is desirable and in the best
interests of the Companies (including a consideration of each Company’s creditors and other
parties in interest) that each Company shall be, and hereby is, authorized to file, or cause to be
filed, a voluntary petition for relief (the “Chapter 11 Cases”) under the provisions of chapter 11 of
the Bankruptcy Code in the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”) and any other petition for relief or recognition or other order that may
be desirable under applicable laws in the United States.

        RESOLVED, that the members of the Governing Bodies or any other duly appointed
officer of the Companies authorized by the Governing Bodies to act on behalf of the applicable
Company (collectively, the “Authorized Signatories”), acting alone or with one or more other
Authorized Signatories be, and they hereby are, authorized, empowered and directed to (i) execute
and file on behalf of the Companies all petitions, affidavits, declarations, first day motions,
schedules, statements of financial affairs, lists and other motions, applications, pleadings, papers,
or documents; (ii) take and perform any and all action that they deem necessary or proper to obtain
such relief, including, without limitation, any action necessary to maintain the ordinary course
operation of the Companies’ business; (iii) appear as necessary at all bankruptcy proceedings on
behalf of the Companies; and (iv) pay all such expenses where necessary or appropriate in order
to carry out fully the intent and accomplish the purposes of the resolutions adopted herein.

        RESOLVED, that the actions of any Authorized Signatory taken pursuant to the preceding
resolution, including the execution, acknowledgment, delivery, and verification of the petition and
all ancillary documents and all other agreements, certificates, instruments, guaranties, notices, and
other documents, shall be conclusive evidence of such Authorized Signatory’s approval and the
necessity or desirability thereof.

Restructuring Support Agreement

       RESOLVED, that the Companies shall be, and hereby are, authorized to enter into the
Restructuring Support Agreement, with such changes, additions, and modifications thereto as an
Authorized Signatory executing the same shall approve, such approval to be conclusively
evidenced by an Authorized Signatory’s execution and delivery thereof.

        RESOLVED, that each of the Authorized Signatories be, and hereby is, authorized and
empowered to enter into, on behalf of the Companies, the Restructuring Support Agreement, and
to take any and all actions necessary or advisable to advance the Companies’ rights and obligations
therein, including filing pleadings; and in connection therewith, each Authorized Signatory, with
power of delegation, is hereby authorized, empowered and directed to execute the Restructuring
Support Agreement on behalf of the Companies and to take all necessary actions in furtherance of
consummation of such agreement’s terms.


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Retention of Professionals

        RESOLVED, that each of the Authorized Signatories be, and hereby is, authorized and
directed to employ the law firm of Ropes & Gray LLP as general bankruptcy counsel to represent
and assist the Companies in carrying out their duties under the Bankruptcy Code, and to take any
and all actions to advance the Companies’ rights and obligations, including filing any motions,
objections, replies, applications, or pleadings; and in connection therewith, each of the Authorized
Signatories, with power of delegation, is hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate application
for authority to retain the services of Ropes & Gray LLP.

        RESOLVED, that the Authorized Signatories be, and they hereby are, authorized and
directed to employ the law firm of Chipman Brown Cicero & Cole LLP, as co-bankruptcy counsel,
to represent and assist the Companies in carrying out their duties under the Bankruptcy Code, and
to take any and all actions to advance the Companies’ rights and obligations, including filing any
motions, objections, replies, applications, or pleadings; and in connection therewith, each of the
Authorized Signatories, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of Chipman Brown Cicero & Cole LLP.

        RESOLVED, that each of the Authorized Signatories be, and hereby is, authorized and
directed to employ the firm of Solomon Partners Securities, LLC, as investment banker to the
Companies to represent and assist the Companies in carrying out their duties under the Bankruptcy
Code, and to take any and all actions to advance the Companies’ rights and obligations; and in
connection therewith, each of the Authorized Signatories, with power of delegation, is hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers, and
to cause to be filed an appropriate application for authority to employ or retain the services of
Solomon Partners Securities, LLC.

        RESOLVED, that the Authorized Signatories be, and they hereby are, authorized and
directed to employ the firm of Berkeley Research Group, LLC, as financial advisor, to represent
and assist the Companies in carrying out their duties under the Bankruptcy Code, and to take any
and all actions to advance the Companies’ rights and obligations; and in connection therewith,
each of the Authorized Signatories is, with power of delegation, hereby authorized and directed to
execute appropriate retention agreements, pay appropriate retainers, and to cause to be filed an
appropriate application for authority to retain the services of Berkeley Research Group, LLC.

        RESOLVED, that the Authorized Signatories be, and they hereby are authorized and
directed to employ Omni Agent Solutions, Inc., as notice, claims, solicitation and balloting agent
in connection with the Chapter 11 Cases; and in connection therewith, each of the Authorized
Signatories is, with power of delegation, hereby authorized and directed to execute appropriate
retention agreements, pay appropriate retainers, if required, prior to and immediately upon the
filing of the Chapter 11 Cases, and to cause to be filed an appropriate application for authority to
retain the services of Omni Agent Solutions, Inc.

        RESOLVED, that the Authorized Signatories be, and they hereby are, authorized and
directed to employ the firm of C Street Advisory Group, LLC, as strategic communications advisor,


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to represent and assist the Companies in carrying out their duties under the Bankruptcy Code, and
to take any and all actions to advance the Companies’ rights and obligations; and in connection
therewith, each of the Authorized Signatories is, with power of delegation, hereby authorized and
directed to execute appropriate retention agreements, pay appropriate retainers, and to cause to be
filed an appropriate application for authority to retain the services of C Street Advisory Group,
LLC, if applicable.

        RESOLVED, that the Authorized Signatories be, and they hereby are, authorized and
directed to employ any other professionals to assist the Companies in carrying out their duties
under the Bankruptcy Code; and in connection therewith, each of the Authorized Signatories, with
power of delegation, is hereby authorized and directed to execute appropriate retention agreements,
pay appropriate retainers and fees, and to cause to be filed an appropriate application for authority
to retain the services of any other professionals as necessary.

        RESOLVED, that the Authorized Signatories be, and they hereby are, with power of
delegation, authorized, empowered and directed to execute and file all petitions, schedules,
motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
and retain all assistance by legal counsel, accountants, financial advisors, investment bankers, and
other professionals and to take and perform any and all further acts and deeds that each of the
Authorized Signatories deem necessary, proper, or desirable in connection with the
Companies’ Chapter 11 Cases, with a view to the successful prosecution of such case.

DIP Facility

        RESOLVED, the transactions contemplated by the DIP Credit Agreement (including,
without limitation, the borrowings thereunder), the transactions contemplated therein, and the
guaranties, liabilities, obligations, and guarantees, liens, and equity pledges granted in connection
therewith, be, and hereby are, authorized, adopted and approved with such lenders and on such
terms substantially consistent with those presented to the Governing Bodies on or prior to the date
hereof and as may be further approved, modified or amended by any one or more of the Authorized
Signatories, as may be reasonably necessary or desirable for the continuing conduct of the affairs
of the Companies.

        RESOLVED, that, in the judgment of the Governing Bodies, it is desirable and in the best
interests of the Companies (including a consideration of their creditors and other parties in interest)
to finalize, execute, and deliver the DIP Credit Agreement and each other Credit Document,
subject to appropriate modifications and final negotiations, and the Companies’ performance of
their obligations thereunder, including granting liens, guarantees, and equity pledges.

        RESOLVED, that the Companies’ execution and delivery of, and the performance of their
obligations (including guarantees) in connection with the DIP Credit Agreement, is hereby, in all
respects, authorized and approved; and further resolved, that each of the Authorized Signatories,
acting alone or with one or more Authorized Signatories, is hereby authorized, empowered, and
directed to negotiate the terms of and to execute, deliver, and perform under the DIP Credit
Agreement and any and all other documents, certificates, instruments, agreements, intercreditor
agreements, any such changes therein, additions, deletions, amendments, or other modifications
thereto required to consummate the transactions contemplated by the DIP Credit Agreement in the


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name and on behalf of the Companies, in the form approved, with such changes therein and
modifications and amendments thereto as any of the Authorized Signatories may in its sole and
absolute discretion approve, which approval shall be conclusively evidenced by his or her
execution thereof. Such execution by any of the Authorized Signatories is hereby authorized to be
by facsimile, engraved or printed as deemed necessary and preferable.

        RESOLVED, that each of the Authorized Signatories, acting alone or with one or more
Authorized Signatories, be, and hereby is, authorized and directed to seek authorization to enter
into the DIP Credit Agreement and to seek approval of the use of cash collateral pursuant to a
postpetition financing order in interim and final form with such changes therein, additions,
deletions, amendments, or other modifications thereto as any Authorized Signatory may in its sole
and absolute discretion approve, and any Authorized Signatory be, and hereby is, authorized,
empowered, and directed to negotiate, execute, and deliver any and all agreements, instruments,
or documents, by or on behalf of the Companies, necessary to implement the postpetition financing,
including providing for adequate protection to the secured parties under the Prepetition 1L Credit
Agreement, the Prepetition Sidecar Credit Agreement, that certain Second Lien Credit Agreement,
dated as of October 27, 2015 (as amended, restated, amended and restated, supplemented, or
otherwise modified from time to time), by and among the Borrower, Holdings, the Borrower’s
direct and indirect domestic subsidiaries, as guarantors, the lenders from time to time party thereto,
and Ares Capital Corporation, as administrative and collateral agent, and that certain
Non-Notification Factoring Agreement, dated as of November 15, 2018 (as amended, restated,
amended and restated, supplemented, or otherwise modified from time to time), by and between
Shoes for Crews, LLC and The CIT Group/Commercial Services, Inc., in accordance with section
363 of the Bankruptcy Code, as well as any additional or further agreements for entry into the DIP
Credit Agreement and the use of cash collateral in connection with the Chapter 11 Cases, which
agreements may require adequate protection and liens to the DIP Lenders and each other agreement,
instrument, or document to be executed and delivered in connection therewith, by or on behalf of
the Companies pursuant thereto or in connection therewith, all with such changes therein and
additions thereto as any Authorized Signatory approves, such approval to be conclusively
evidenced by the taking of such action or by the execution and delivery thereof.

         RESOLVED, that (i) the form, terms, and provisions of the DIP Credit Agreement, (ii) the
grant of (a) collateral under the DIP Credit Agreement and (b) pledges of equity, (iii) the guaranty
of obligations by the Guarantors (as defined in the DIP Credit Agreement) under the DIP Credit
Agreement, from which the Companies will derive value, be and hereby are, authorized, adopted,
and approved, and (iv) any Authorized Signatory of the Companies is hereby authorized,
empowered, and directed, in the name of and on behalf of the Companies, to take such actions and
negotiate or cause to be prepared and negotiated and to execute, deliver, perform, and cause the
performance of, each of the transactions contemplated by the DIP Credit Agreement, substantially
in the form provided to the Governing Bodies, and such other agreements, certificates, instruments,
or other papers or documents to which each Company is or will be a party or any order entered
into in connection with the DIP Credit Agreement (collectively with the DIP Credit Agreement,
the “Financing Documents”), incur and pay or cause to be paid all related fees and expenses, with
such changes, additions and modifications thereto as an Authorized Signatory executing the same
shall approve.




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       RESOLVED, that each Company, as a debtor and debtor-in-possession under the
Bankruptcy Code be, and hereby is, authorized and directed to incur any and all obligations and to
undertake any and all related transactions on substantially the same terms as contemplated under
the Financing Documents (collectively, the “Financing Transactions”), including granting liens,
guarantees, and providing equity pledges to secure such obligations.

         RESOLVED, that each of the Authorized Signatories be, and hereby is, authorized and
directed to take such actions as in its discretion is determined to be necessary, desirable, or
appropriate to execute, deliver, and file: (i) the Financing Documents and such agreements,
certificates, instruments, guaranties, notices, and any and all other documents, including, without
limitation, any amendments, supplements, modifications, renewals, replacements, consolidations,
substitutions, and extensions of any Financing Documents, necessary, desirable, or appropriate to
facilitate the Financing Transactions; (ii) all schedules, and other motions, papers, or documents,
which shall in its sole judgment be necessary, proper, or advisable, which determination shall be
conclusively evidenced by his/her or their execution thereof; (iii) such other instruments,
certificates, notices, assignments, and documents as may be reasonably requested under the
Financing Documents; and (iv) such forms of officer’s certificates and compliance certificates as
may be required by the Financing Documents.

        RESOLVED, that each of the Authorized Signatories be, and hereby is, authorized and
directed to take all such further actions, including, without limitation, to pay or approve the
payment of all fees and expenses payable in connection with the Financing Transactions and all
fees and expenses incurred by or on behalf of the Companies in connection with the foregoing
resolutions, in accordance with the terms of the Financing Documents, which shall in their
reasonable business judgment be necessary, proper, or advisable to perform each Company’s
obligations under or in connection with the Financing Documents or any of the Financing
Transactions and to fully carry out the intent of the foregoing resolutions.

Entry into Stalking Horse APA

       RESOLVED, that each Company is authorized to enter into the APA Documents with the
Purchaser for the sale of the Assets and to undertake any and all related transactions contemplated
thereby, including the APA Transactions, the Auction, and the Bidding Procedures, on the terms
contained therein or on such other terms and conditions as the Authorized Signatories, or any of
them, in their, his or her sole discretion, determine to be necessary, appropriate or desirable.

       RESOLVED, that each of the Authorized Signatories of each Company be, and hereby is,
authorized and empowered in the name of, and on behalf of, each respective Company to execute,
on behalf of each respective Company, the APA Documents, and to execute and file, on behalf of
each respective Company, the Sale Motion (including the Bidding Procedures) with the
Bankruptcy Court.

       RESOLVED, that each of the Authorized Signatories of each Company be, and hereby is,
authorized and empowered in the name of, and on behalf of, each respective Company to conduct
the Auction as approved by the Bankruptcy Court pursuant to the Sale Motion and Bidding
Procedures and to negotiate, for and on behalf of each respective Company, such agreements,




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documents, assignments and instruments as may be necessary, appropriate or desirable in
connection with the sale to the Purchaser or the Successful Bidder.

General

        RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Authorized Signatories, each of the Authorized Signatories (and their designees and delegates) be,
and hereby is, authorized and empowered, in the name of and on behalf of each Company, to take
or cause to be taken any and all such other and further action, and to execute, acknowledge, deliver
and file any and all such agreements, certificates, instruments and other documents and to pay all
expenses, including but not limited to filing fees, in each case as in such Authorized Signatory’s
judgment, shall be necessary, advisable or desirable in order to fully carry out the intent and
accomplish the purposes of the resolutions adopted herein.

        RESOLVED, that the Governing Bodies received sufficient notice of the actions and
transactions relating to the matters contemplated by the foregoing resolutions, as may be required
by the organizational documents of each Company, as applicable, or hereby waive any right to
have received such notice.

        RESOLVED, that all acts, actions and transactions relating to the matters contemplated by
the foregoing resolutions done in the name of and on behalf of each Company are hereby in all
respects approved and ratified as the true acts and deeds of each Company with the same force and
effect as if each such act, transaction, agreement or certificate has been specifically authorized in
advance by resolution of the Governing Bodies.

       RESOLVED, that each of the Authorized Signatories (and their designees and delegates)
be, and hereby is, authorized and empowered to take all actions or to not take any action in the
name of each Company with respect to the transactions contemplated by these resolutions
hereunder, as such Authorized Signatory shall deem necessary or desirable in such Authorized
Signatory’s reasonable business judgment to effectuate the purposes of the transactions
contemplated herein.

                                             *****




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                                          Schedule 1

                           Filing Entities (State of Incorporation)

1. Never Slip TopCo, Inc. (Delaware)

2. Never Slip Holdings, Inc. (Delaware)

3. SHO Holding I Corporation (Delaware)

4. SHO Holding II Corporation (Delaware)

5. Shoes For Crews, Inc. (Florida)

6. SFC Holdings, Inc. (Delaware)

7. SFC Holdings, LLC (Florida)

8. Shoes for Crews, LLC (Florida)

9. SRS/MKS, L.L.C. (Florida)

10. Shoes for Crews Canada, Ltd. (Florida)

11. SFC Canada, Inc. (Florida)

12. Sunrise Enterprises, LLC (Delaware)
